     Case 3:17-cv-00939-WHA Document 810-2 Filed 07/06/17 Page 1 of 2



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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
12                         Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                          DEFENDANTS UBER
13          v.                                            TECHNOLOGIES, INC. AND
                                                          OTTOMOTTO LLC’S
14   UBER TECHNOLOGIES, INC.,                             ADMINISTRATIVE MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    FILE DOCUMENTS UNDER SEAL
15
                           Defendants.
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3802466
     Case 3:17-cv-00939-WHA Document 810-2 Filed 07/06/17 Page 2 of 2



 1
            Upon consideration of Defendants Uber Technologies, Inc. and Ottomotto LLC’s
 2
     (“Defendants”) Administrative Motion to File Documents Under Seal, and finding that good
 3
     cause exists, this Court hereby GRANTS Defendants’ Administrative Motion to File Documents
 4
     Under Seal and ORDERS that the following documents shall be sealed, as indicated below:
 5

 6
     Title of Document                                       Portions to Be Filed Under Seal
 7
     Exhibit A                                                        Entire Document
 8
     Exhibit B                                                        Entire Document
 9
10          IT IS SO ORDERED.
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     Dated: _____________, 2017
13                                               HONORABLE JACQUELINE SCOTT CORLEY
                                                 United States Magistrate Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3802466
